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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

                                   SAN ANTONIO DIVISION


 LOGAN PAUL,

                                Plaintiff,
          v.
                                                           Civil Action No. 5:24-cv-00717
 STEPHEN FINDEISEN AND COFFEE BREAK
 PRODUCTIONS LLC D/B/A COFFEEZILLA,

                                Defendants.


     DECLARATION OF ANDREW C. PHILLIPS IN SUPPORT OF PLAINTIFF’S
                        MOTION TO COMPEL

       I, Andrew C. Phillips, declare as follows

       1.      I am an attorney admitted, pro hac vice, to practice in this Court, and I am one of

the lawyers responsible for representing Plaintiff Logan Paul in this action. I submit this

declaration in support of Mr. Paul’s Motion to Compel Production of Communications Relevant

to Defendants’ Actual Malice (the “Motion”). The following facts are within my personal

knowledge and, if called and sworn as a witness, I would testify competently as to them.

       2.      On August 29, 2024, I caused to be served on Defendants—through their counsel—

the requests for production reflected in Exhibit 1 to this Declaration.

       3.      The email chain attached to this Declaration as Exhibit 2 is a true and correct copy

of communications between myself and Defendants’ counsel.                 In the course of those

communications, I asked Defendants to produce the communications that are the subject of the

Motion.




                                                   1
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       4.      On December 4, 2024 and December 18, 2024, I participated in conference calls

with Defendants’ counsel, during which I asked Defendants to produce the communications that

are the subject of the Motion.

       5.      Attached as Exhibit 3 are true and correct copies of screenshots taken from a

YouTube video that Defendants published on December 23, 2022 titled, “Ending Logan Paul’s

Biggest Scam.” The screenshots reflect that Defendants were then in possession of text messages

between Plaintiff and others regarding the CryptoZoo project that is the subject of this litigation.

The YouTube video is available at the URL: https://www.youtube.com/watch?v=8-fugWMBwCg.

       6.      Defendants have declined to produce the copies of the communications in their

possession that are the subject of this Motion.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.



Executed on January 17, 2025                  /s/ Andrew C. Phillips
                                              Andrew C. Phillips




                                                  2
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                         EXHIBIT 1
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS

                                 SAN ANTONIO DIVISION


 LOGAN PAUL,

                              Plaintiff,
        v.
                                                      Civil Case No. 5:24-cv-00717-OLG
 STEPHEN FINDEISEN AND COFFEE BREAK
 PRODUCTIONS LLC D/B/A COFFEEZILLA,

                              Defendants.


         DEFENDANTS’ RESPONSE TO PLAINTIFF LOGAN PAUL’S FIRST SET OF
                         REQUESTS FOR PRODUCTION

       Pursuant to Federal Rules of Civil Procedure 26 and 34, DEFENDANTS hereby

submits their Responses To Plaintiff’s First Set of Requests for Production to Defendants Stephen

Findeisen and Coffee Break Productions LLC d/b/a Coffeezilla.


                     RESPONSES TO PLAINTIFF’S REQUESTS FOR
                                 PRODUCTION

REQUEST NO. 1:

All documents and communications relating to Mr. Paul.

RESPONSE: Defendant objects to this request because it lacks any and time and/or content
limitations. Defendants’ production to this request relates to Plaintiff in relation to Defendant’s
investigation into Plaintiff’s involvement with cryptocurrency. Additionally, Defendants are
withholding materials pursuant to the privilege in Section 22.023 of the Texas Civil Practice &
Remedies Code against producing any confidential or nonconfidential information, document,
or item obtained or prepared while acting as a journalist. Defendants are also withholding the
same materials pursuant to their First Amendment reporter’s privilege which protects the
refusal to disclose the identity of confidential informants. See Miller v. Transamerican Press, 621
F2d 721 (5th Cir. 1980). Additionally, this request seeks information protected under FRCP
26(b)(3) by the work product privilege and the common interest privilege.
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 REQUEST NO. 2:

 All documents and communications relating to CryptoZoo and your investigation into CryptoZoo.

RESPONSE: Defendant objects to this request as overly broad and unduly burdensome in that it
lacks any and time and/or content limitations. Defendants are withholding materials pursuant to the
privilege in Section 22.023 of the Texas Civil Practice & Remedies Code against producing any
confidential or nonconfidential information, document, or item obtained or prepared while acting
as a journalist. Defendants are also withholding the same materials pursuant to their First
Amendment reporter’s privilege which protects the refusal to disclose the identity of confidential
informants. See Miller v. Transamerican Press, 621 F2d 721 (5th Cir. 1980). Additionally, this request
seeks information protected under FRCP 26(b)(3) by the work product privilege and the common
interest privilege. .

 REQUEST NO. 3:

 All documents and communications shared between you and Jake Greenbaum.

 RESPONSE: See Defendant’s Production

 REQUEST NO. 4:

 All calendar entries, calendar invitations, phone logs, notes, or recordings relating to all interviews,

 meetings, videoconferences, calls, or conversations you conducted or attended during which Mr.

 Paul or CryptoZoo were mentioned, referenced, or discussed.

RESPONSE: Defendant objects to this request as overly broad and unduly burdensome in that it
lacks any and time and/or content limitations. Defendants are withholding materials pursuant to
the privilege in Section 22.023 of the Texas Civil Practice & Remedies Code against producing any
confidential or nonconfidential information, document, or item obtained or prepared while acting
as a journalist. Defendants are also withholding the same materials pursuant to their First
Amendment reporter’s privilege which protects the refusal to disclose the identity of confidential
informants. See Miller v. Transamerican Press, 621 F2d 721 (5th Cir. 1980). Additionally, this request
seeks information protected under FRCP 26(b)(3) by the work product privilege and the common
interest privilege.
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REQUEST NO. 5:

All scripts and drafts related to the preparation of the January 27th Video, the July 11th Video, the

August 25th Video, the September 10th Video, the November 24th                            Video, the

December 5th     Video, the December 16th Video, the December 20th                        Video, the

December 23rd Video, the January 18th Video, the March 9th Video, the June 30th Video, the

October 13th Video, the January 5th Video, and the August 5th Video.

RESPONSE: Defendants are withholding materials pursuant to the privilege in Section 22.023 of
the Texas Civil Practice & Remedies Code against producing any confidential or nonconfidential
information, document, or item obtained or prepared while acting as a journalist.

REQUEST NO. 6:

All raw, unedited video footage prepared for potential inclusion in the January 27th Video, the

July 11th Video, the August 25th Video, the September 10th Video, the November 24th Video, the

December 5th     Video, the December 16th Video, the December 20th                        Video, the

December 23rd Video, the January 18th Video, the March 9th Video, the June 30th Video, the

October 13th Video, the January 5th Video, and the August 5th Video, whether it was ultimately

included in a published YouTube video or not.

RESPONSE: Defendants are withholding materials pursuant to the privilege in Section 22.023 of
the Texas Civil Practice & Remedies Code against producing any confidential or nonconfidential
information, document, or item obtained or prepared while acting as a journalist.


 REQUEST NO. 7:

 All notes, summaries, audio recordings, or audio-visual recordings of any interviews conducted

 by you in the course of your investigation of CryptoZoo and/or for potential inclusion in the

 December 16th Video, the December 20th Video, the December 23rd Video, the June 30th Video,

 or the January 5th Video, whether ultimately included or not.

RESPONSE: OBJECTION. Defendants are withholding materials pursuant to the privilege in
Section 22.023 of the Texas Civil Practice & Remedies Code against producing any confidential or
nonconfidential information, document, or item obtained or prepared while acting as a journalist.
Defendants are also withholding the same materials pursuant to their First Amendment reporter’s
privilege which protects the refusal to disclose the identity of confidential informants. See Miller v.
Transamerican Press, 621 F2d 721 (5th Cir. 1980)
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REQUEST NO. 8:

All documents and communications reflecting views, unique views, viewership, listenership, clicks,

likes, comments, reposts, and any other metric used to measure the audience, popularity, or

engagement for the January 27th Video, the July 11th Video, the August 25th Video, the

September    10th    Video,    the   November     24th        Video,     the December 5th   Video, the

December 16th       Video,    the    December    20th         Video,     the December 23rd Video, the

January 18th Video, the March 9th Video, the June 30th Video, the October 13th Video, the

January 5th Video, and the August 5th Video.

RESPONSE: Defendants object to this request as it seeks equally accessible information within
the public forum. Purported counts of views, likes, and reposts are publicly available information.
Request for all documents and communications beyond this are overly broad and burdensome,
not proportional, as well as confidential, proprietary, or trade secrets.


REQUEST NO. 9:

All documents and communications reflecting views, unique views, viewership, listenership,

clicks, likes, comments, reposts, and any other metric used to measure the audience, popularity, or

engagement for the X Post.

RESPONSE: Defendants object to this request as it seeks equally accessible information within the
public forum. Purported counts of views, likes, and reposts are publicly available information.
Request for all documents and communications beyond this are overly broad and burdensome,
not proportional, as well as confidential, proprietary, or trade secrets.

REQUEST NO. 10:

All documents and communications reflecting and relating to the revenue you earned from the

publication of the January 27th Video, the July 11th Video, the August 25th Video, the

September 10th       Video,    the    November         24th    Video,      the December 5thVideo, the

December 16th       Video,    the December      20th     Video,        the December 23rd    Video, the

January 18th Video, the March 9th Video, the June 30th Video, the October 13th Video, the

January 5th Video, and the August 5th Video.
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RESPONSE: OBJECTION. This request seeks irrelevant information under FRCP 401, 402,
and 403. The request is overly broad, burdensome, harassing, and not proportional to the
needs of the case. The request improperly seeks information which is a proprietary trade
secret.


REQUEST NO. 11:

All documents and communications reflecting promotion or marketing of the December

16th Video, the December 20th Video, the December 23rd Video, the June 30th Video, and the

January 5th Video.

RESPONSE: NONE.

REQUEST NO. 12:

All documents and communications, whether internal or with advertisers, potential advertisers, and

other third parties, about the size of the audience for the CoffeeZilla YouTube account between

January 1, 2021 and the present.

RESPONSE: NONE.

REQUEST NO. 13:

Documents sufficient to show the historical number of subscriptions to the “Coffeezilla” Patreon

account since its inception, as well as the amount of money you have received from “patrons” of

that account.

RESPONSE: This request seeks information from an irrelevant time frame, as this Patreon
account has existed since at least 2017. The information is also not relevant under FRCP 401, 402,
and 403 because Patreon subscriptions are not tied to any specific video or content. Patreon is a
subscription service based around supporting a particular idea -- “high effort investigative
journalism” -- not a particular report such as a Logan Paul investigation. It is impossible to
determine why a Patreon subscriber would have joined. Thus, such information is also not
proportional to the needs of Plaintiff’s case. This request is tantamount to asking the New York
Times for historical number of subscriptions and total revenue, on the grounds of a defamation
case based on a New York Times successful investigative series. Further, the request seeks
information which constitutes a proprietary trade secret.
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REQUEST NO. 14:

All communications with Jeffrey Levin, whether by email, audio recording, video recording, or

any other mode or medium.

RESPONSE: Please see production.

REQUEST NO. 15:

All communications with the named plaintiff in the action Don Holland v. CrytoZoo Inc., et al., No.

1:23-cv-110 (W.D. Tex.), as well as all communications with any attorney for the plaintiff,

including but not limited to Jarrett Ellzey, Leigh Montgomery, Alexander Kykta, and Tom

Kherkher.

RESPONSE: This request seeks information protected under FRCP 26(b)(3) by the work product
privilege and the common interest privilege.


 REQUEST NO. 16:

 All Documents referenced in, or relied upon in preparing, Defendants’ Answer and Defendants’

 responses to Mr. Paul’s interrogatories.

RESPONSE: See Defendants’ Production.

REQUEST NO. 17:

Any agreement under which an insurance business or other person or entity may be liable to satisfy

all or part of a judgment in this action or to indemnify or reimburse for payments made to satisfy a

judgment in this action, even if the insurance business, person, or entity disputes such liability.

RESPONSE: See Insurance policy produced with Defendants’ Initial Disclosures.

REQUEST NO. 18:

All documents and communications relating to money you have received in connection with your

efforts to raise funds to support your defense in this action, including the revenue you received from

your “Coffeezilla Defense” merchandise sales (launched on or before August 5, 2024) and any

Patreon membership purchases that were made after you published the August 5, 2024 YouTube

video titled “Logan Paul Sued Me.”
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RESPONSE: Defendant objects to this request because it seeks irrelevant information under
FRCP 401, 402, and 403. As written, this request is overly broad and unduly burdensome in that
it lacks any and time and/or content limitations. The request also seeks information that
constitutes a proprietary trade secret.


REQUEST NO. 19:

All documents and communications relating to any efforts by you to raise funds for your legal fees

in this action.

RESPONSE: Defendant objects to this request because it seeks irrelevant information under
FRCP 401, 402, and 403. As written, this request is overly broad and unduly burdensome in
that it lacks any and time and/or content limitations. The request also seeks information that
constitutes a proprietary trade secret.

REQUEST NO. 20:

The Operating Agreement for Coffee Break Productions LLC.

 RESPONSE: See Defendant Production.

 REQUEST NO. 21:

 All documents and communications that you contend support your Defense at Paragraph 10,

 page 18 of your Answer in this action.

 RESPONSE: See Defendants’ Production.

 REQUEST NO. 22:

 All documents and communications that you contend support your Defense at Paragraph 12,

 page 19 of your Answer in this action.

 RESPONSE: Defendant objects as this request seeks information that is readily available to
 Plaintiff through a simple search of publicly available content on the internet. Such content
 is within regards Plaintiff’s past public controversies, including but not limited to Plaintiff’s
 publicly detailed cryptocurrency history. See Defendants’ Production.

 REQUEST NO. 23:

 All documents on which Defendants intend to rely at any hearing or trial of this action.

 RESPONSE: Plaintiff objects as this request is premature as it seeks to require Defendants to
 marshal their evidence. Defendants will supplement this response pursuant to the Court’s
 Scheduling Order and the Rules of Evidence and Civil Procedure.
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Dated: September 27, 2024

Respectfully Submitted,

       /s/ Bill Ogden
       William R. Ogden
       Mark Bankston
       Kyle Farrar
       FARRAR & BALL, LLP
       1117 Herkimer Street
       Houston, Texas 77008
       bill@fbtrial.com
       mark@fbtrial.com
       kyle@fbtrial.com

       Attorneys for Defendants
  Case 5:24-cv-00717-OLG-HJB            Document 26-1       Filed 01/17/25      Page 12 of 37




                                CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of Defendants’ Responses to Plaintiff’s First

Set of Requests for Production to Defendants in the above-captioned matter was served on the below

counsel of record on September 27, 2024 in accordance with the Federal Rules of Civil Procedure:

                                                  Andrew C. Phillips (Pro Hac Vice)
                                                  Shannon B. Timmann (Pro Hac Vice)
                                                  MEIER WATKINS PHILLIPS PUSCH LLP
                                                  919 18th Street NW, Suite 650
                                                  Washington, DC 20006
                                                  Email: andy.phillips@mwpp.com
                                                  Email: shannon.timmann@mwpp.com

                                                  Jeffrey A. Neiman (Pro Hac Vice)
                                                  Jason L. Mays (Pro Hac Vice)
                                                  MARCUS NEIMAN RASHBAUM & PINEIRO LLP
                                                  100 SE 3rd Ave., Suite 805
                                                  Ft. Lauderdale, Florida 33394
                                                  Email: jneiman@mnrlawfirm.com
                                                  Email: jmays@mnrlawfirm.com

                                                  Shelby O’Brien
                                                  ENOCH KEVER PLLC
                                                  7600 N. Capital of Texas Highway
                                                  Building B, Suite 200
                                                  Austin, Texas 78731
                                                  Email: sobrien@enochkever.com

                                                  Counsel for Plaintiff Logan Paul




Dated: September 27, 2024                                   By: /s/ Bill Ogden
                                                                William R. Ogden
Case 5:24-cv-00717-OLG-HJB   Document 26-1   Filed 01/17/25   Page 13 of 37




                         EXHIBIT 2
Case 5:24-cv-00717-OLG-HJB     Document 26-1   Filed 01/17/25   Page 14 of 37




 From: Andrew Phillips <andy.phillips@mwpp.com>
 Sent: Thursday, December 19, 2024 11:07 AM
 To: Rachel Garza <Rgarza@dslawpc.com>; Dela Valdez
 <dvaldez@dslawpc.com>; Jason Davis
 <jdavis@dslawpc.com>; Shannon Timmann
 <shannon.timmann@mwpp.com>;
 jneiman@mnrlawfirm.com <jneiman@mnrlawfirm.com>;
 jmays@mnrlawfirm.com <jmays@mnrlawfirm.com>
 Cc: Caroline Small <csmall@dslawpc.com>; Danielle Grote
 <dgrote@dslawpc.com>; Erin Green
 <egreen@dslawpc.com>; Jasmine Capetillo
 <jcapetillo@dslawpc.com>
 Subject: Re: Paul v. Findeisen

 Jason, Caroline:

 Thanks the call last night.

 As a follow up, by this Monday (December 23) you have agreed to
 give us a date certain as to when you will be producing a privilege
 log and making a supplemental production. You also agreed by
 Monday to let us your position on whether you would agree to
 produce the set of documents identified in the last paragraph of
 my email of December 10 (communications to which Logan was a
 party that were in the possession of your client at the time of
 publication of the statements at issue in the case). Also, as
 discussed, please let us know by Monday if you can produce a
 smaller subset of the privilege log on an accelerated timetable.
 This smaller subset would include a log of all calls recorded by Mr.
 Findeisen and all communications with the class action lawyers
 that are responsive to our discovery requests.

 We also agreed last night to move the deadlines for expert
 disclosures to February 18 and March 18 and for amendments to
 the Complaint to January 21.

 As discussed, we will be making a substantial document
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 production by tomorrow at the latest.

 We look forward to hearing from you on Monday.


   Andrew C. Phillips
   Managing Partner
   Meier Watkins Phillips
   Pusch LLP
   919 18th St NW, Suite 650
   Washington, DC 20006
   Direct: 847.951.7093
   www.mwpp.com




 From: Andrew Phillips <andy.phillips@mwpp.com>
 Date: Wednesday, December 18, 2024 at 5:32 PM
 To: Rachel Garza <Rgarza@dslawpc.com>, Dela Valdez
 <dvaldez@dslawpc.com>, Jason Davis
 <jdavis@dslawpc.com>, Shannon Timmann
 <shannon.timmann@mwpp.com>,
Case 5:24-cv-00717-OLG-HJB     Document 26-1   Filed 01/17/25   Page 16 of 37




 jneiman@mnrlawfirm.com <jneiman@mnrlawfirm.com>,
 jmays@mnrlawfirm.com <jmays@mnrlawfirm.com>
 Cc: Caroline Small <csmall@dslawpc.com>, Danielle Grote
 <dgrote@dslawpc.com>, Erin Green
 <egreen@dslawpc.com>, Jasmine Capetillo
 <jcapetillo@dslawpc.com>
 Subject: Re: Paul v. Findeisen

 Please use the dial-in sent with the calendar invite for for this
 evening’s call rather than the Teams link. Speak to you all soon.

   Andrew C. Phillips
   Managing Partner
   Meier Watkins Phillips
   Pusch LLP
   919 18th St NW, Suite 650
   Washington, DC 20006
   Direct: 847.951.7093
   www.mwpp.com
Case 5:24-cv-00717-OLG-HJB     Document 26-1   Filed 01/17/25   Page 17 of 37




 From: Andrew Phillips <andy.phillips@mwpp.com>
 Date: Tuesday, December 17, 2024 at 4:55 PM
 To: Rachel Garza <Rgarza@dslawpc.com>, Dela Valdez
 <dvaldez@dslawpc.com>, Jason Davis
 <jdavis@dslawpc.com>, Shannon Timmann
 <shannon.timmann@mwpp.com>,
 jneiman@mnrlawfirm.com <jneiman@mnrlawfirm.com>,
 jmays@mnrlawfirm.com <jmays@mnrlawfirm.com>
 Cc: Caroline Small <csmall@dslawpc.com>, Danielle Grote
 <dgrote@dslawpc.com>, Erin Green
 <egreen@dslawpc.com>, Jasmine Capetillo
 <jcapetillo@dslawpc.com>
 Subject: Re: Paul v. Findeisen

 Ok. Let’s do 6:45 pm ET. We can use the below dial-in:

  Toll Dial-in Number:          +1 (202) 524-7986
  Toll-Free Dial-in Number:     +1 (800) 309-2350

  Conference ID:                188-4310


   Andrew C. Phillips
   Managing Partner
   Meier Watkins Phillips
   Pusch LLP
   919 18th St NW, Suite 650
   Washington, DC 20006
   Direct: 847.951.7093
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   Pusch LLP
   919
Case   18th St NW, Suite 650
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   Washington, DC 20006
   Direct: 847.951.7093
   www.mwpp.com




  From: Rachel Garza <Rgarza@dslawpc.com>
  Date: Tuesday, December 17, 2024 at 4:34 PM
  To: Andrew Phillips <andy.phillips@mwpp.com>, Dela
  Valdez <dvaldez@dslawpc.com>, Jason Davis
  <jdavis@dslawpc.com>, Shannon Timmann
  <shannon.timmann@mwpp.com>,
  jneiman@mnrlawfirm.com <jneiman@mnrlawfirm.com>,
  jmays@mnrlawfirm.com <jmays@mnrlawfirm.com>
  Cc: Caroline Small <csmall@dslawpc.com>, Danielle Grote
  <dgrote@dslawpc.com>, Erin Green
  <egreen@dslawpc.com>, Jasmine Capetillo
  <jcapetillo@dslawpc.com>
  Subject: RE: Paul v. Findeisen

  Are you available after 5:30 p.m. central time tomorrow?

  From: Andrew Phillips <andy.phillips@mwpp.com>
  Sent: Tuesday, December 17, 2024 3:01 PM
  To: Rachel Garza <Rgarza@dslawpc.com>; Dela Valdez
  <dvaldez@dslawpc.com>; Jason Davis <jdavis@dslawpc.com>;
Case 5:24-cv-00717-OLG-HJB     Document 26-1   Filed 01/17/25   Page 19 of 37




 Shannon Timmann <shannon.timmann@mwpp.com>;
 jneiman@mnrlawfirm.com; jmays@mnrlawfirm.com
 Cc: Caroline Small <csmall@dslawpc.com>; Danielle Grote
 <dgrote@dslawpc.com>; Erin Green <egreen@dslawpc.com>;
 Jasmine Capetillo <jcapetillo@dslawpc.com>
 Subject: Re: Paul v. Findeisen

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 attachments unless you know the content is safe.]

 Following up – can we set a time for tomorrow afternoon?

   Andrew C. Phillips
   Managing Partner
   Meier Watkins Phillips
   Pusch LLP
   919 18th St NW, Suite 650
   Washington, DC 20006
   Direct: 847.951.7093
   www.mwpp.com
Case 5:24-cv-00717-OLG-HJB   Document 26-1   Filed 01/17/25   Page 20 of 37




 From: Andrew Phillips <andy.phillips@mwpp.com>
 Date: Monday, December 16, 2024 at 9:36 PM
 To: Rachel Garza <Rgarza@dslawpc.com>, Dela Valdez
 <dvaldez@dslawpc.com>, Jason Davis
 <jdavis@dslawpc.com>, Shannon Timmann
 <shannon.timmann@mwpp.com>,
 jneiman@mnrlawfirm.com <jneiman@mnrlawfirm.com>,
 jmays@mnrlawfirm.com <jmays@mnrlawfirm.com>
 Cc: Caroline Small <csmall@dslawpc.com>, Danielle Grote
 <dgrote@dslawpc.com>, Erin Green
 <egreen@dslawpc.com>, Jasmine Capetillo
 <jcapetillo@dslawpc.com>
 Subject: Re: Paul v. Findeisen

 We can do Wednesday afternoon.

 Get Outlook for iOS

 From: Rachel Garza <Rgarza@dslawpc.com>
 Sent: Monday, December 16, 2024 8:39:14 PM
 To: Andrew Phillips <andy.phillips@mwpp.com>; Dela Valdez
 <dvaldez@dslawpc.com>; Jason Davis <jdavis@dslawpc.com>;
 Shannon Timmann <shannon.timmann@mwpp.com>;
 jneiman@mnrlawfirm.com <jneiman@mnrlawfirm.com>;
 jmays@mnrlawfirm.com <jmays@mnrlawfirm.com>
 Cc: Caroline Small <csmall@dslawpc.com>; Danielle Grote
 <dgrote@dslawpc.com>; Erin Green <egreen@dslawpc.com>;
 Jasmine Capetillo <jcapetillo@dslawpc.com>
 Subject: RE: Paul v. Findeisen

 Mr. Phillips –

 Apologies for the delay in getting back to you. Mr. Davis has been
 traveling and was in court all day today. Do you and your team
 have availability for a call tomorrow afternoon or Wednesday
 afternoon?
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 I look forward to hearing from you.

 Best regards,
 Rachel

 From: Andrew Phillips <andy.phillips@mwpp.com>
 Sent: Monday, December 16, 2024 3:23 PM
 To: Dela Valdez <dvaldez@dslawpc.com>; Jason Davis
 <jdavis@dslawpc.com>; Shannon Timmann
 <shannon.timmann@mwpp.com>; jneiman@mnrlawfirm.com;
 jmays@mnrlawfirm.com
 Cc: Caroline Small <csmall@dslawpc.com>; Rachel Garza
 <Rgarza@dslawpc.com>; Danielle Grote
 <dgrote@dslawpc.com>; Erin Green <egreen@dslawpc.com>;
 Jasmine Capetillo <jcapetillo@dslawpc.com>
 Subject: Re: Paul v. Findeisen

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 attachments unless you know the content is safe.]

 Jason,

 Following up on the below email from last week.

   Andrew C. Phillips
   Managing Partner
   Meier Watkins Phillips
   Pusch LLP
   919 18th St NW, Suite 650
   Washington, DC 20006
   Direct: 847.951.7093
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Case   18th St NW, Suite 650
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   Washington, DC 20006
   Direct: 847.951.7093
   www.mwpp.com




  From: Andrew Phillips <andy.phillips@mwpp.com>
  Date: Tuesday, December 10, 2024 at 10:34 AM
  To: Dela Valdez <dvaldez@dslawpc.com>, Jason Davis
  <jdavis@dslawpc.com>, Shannon Timmann
  <shannon.timmann@mwpp.com>,
  jneiman@mnrlawfirm.com <jneiman@mnrlawfirm.com>,
  jmays@mnrlawfirm.com <jmays@mnrlawfirm.com>
  Cc: Caroline Small <csmall@dslawpc.com>, Rachel Garza
  <Rgarza@dslawpc.com>, Danielle Grote
  <dgrote@dslawpc.com>, Erin Green
  <egreen@dslawpc.com>, Jasmine Capetillo
  <jcapetillo@dslawpc.com>
  Subject: Re: Paul v. Findeisen

  Hi Jason,

  I wanted to follow up on a couple of matters from our discovery
  discussion last week. I understood you to say that you would
  send an email or letter about where we landed on Defendants’
  issues with our RFP responses, so I will look out for that. But a
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 couple of other relevant matters.

 One, as discussed, we are working to get document subpoenas
 out, hopefully this week, to the third-party deponents you identified
 so that the parties can depose those individuals with the benefit of
 having their documents. We’ll do our best to seek compliance by
 early to mid-January so that we can hopefully start knocking some
 of those depositions out in January-February.

 Next, I’d mentioned a few categories of documents that we did not
 see in Defendants’ initial production but that would seem to be
 responsive and not subject to a qualified privilege claim. Those
 categories include viewership/engagement metrics from YouTube
 regarding the Coffeezilla videos at issue, communications with
 advertisers, defense funding communications and documents,
 communications with plaintiffs or counsel in the Holland case,
 communications with any government agencies regarding Mr.
 Paul or CryptoZoo, and general communications with third parties
 about Mr. Paul or CryptoZoo that do not constitute newsgathering
 materials (just by way of example, if Mr. Findeisen received
 comments/criticism/plaudits on his videos from third parties, those
 would be responsive and relevant). Can you let me know at your
 earliest convenience when we can expect to receive those items,
 to the extent Defendants have them?

 As far as our document production, we continue to work diligently
 to review a large volume of materials. I expect that we will make a
 substantial initial production of materials next week.

 Next, as you know, because Defendants appear to be withholding
 the vast majority of potentially responsive materials based on the
 qualified journalist privilege, getting that log is really essential for
 us to be able to meaningfully move discovery forward. For the
 most part (with one exception discussed below), we’re unable to
 consider challenges to claims of privilege, and to assess our
 ability to overcome the qualified privilege with respect to particular
 materials, without a log that gives us visibility into what
 Defendants are withholding. Are you able at this point to put a
 timeline on when we might receive it?
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 Next given the current state of discovery, and the two intervening
 holidays, the current early January deadline for expert disclosures
 seems untenable. Can we agree to move that deadline to mid-
 February, say the 15th, by which time, hopefully, document
 production will be largely complete and Plaintiff will hopefully have
 had a privilege log and time to consider challenges to claims of
 privilege over particular categories of documents? That date
 would still allow several months for deposing experts under the
 discovery schedule.

 Finally, as I mentioned on our call, and while we continue to await
 a privilege log, one category of materials that we feel is essential
 to our case is understanding the universe of Mr. Paul’s
 communications about CryptoZoo that Mr. Findeisen had in his
 possession at the time of publication of the statements at issue.
 The videos themselves reveal that he had some text
 communications between Mr. Paul and others involved with the
 project, but we don’t know for certain the full extent of what
 communications he had and with whom. Will Defendants agree to
 produce those materials notwithstanding the privilege claim? If
 so, we will agree not to argue that doing so constitutes a waiver as
 to any other materials. And if there are issue where production of
 certain materials would necessarily identify a source, we’re willing
 to have that conversation and see if there’s a way that we can
 work around it.

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   Managing Partner
   Meier Watkins Phillips
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  From: Andrew Phillips <andy.phillips@mwpp.com>
  Date: Wednesday, December 4, 2024 at 3:30 PM
  To: Dela Valdez <dvaldez@dslawpc.com>, Jason Davis
  <jdavis@dslawpc.com>, Shannon Timmann
  <shannon.timmann@mwpp.com>,
  jneiman@mnrlawfirm.com <jneiman@mnrlawfirm.com>,
  jmays@mnrlawfirm.com <jmays@mnrlawfirm.com>
  Cc: Caroline Small <csmall@dslawpc.com>, Rachel Garza
  <Rgarza@dslawpc.com>, Danielle Grote
  <dgrote@dslawpc.com>, Erin Green
  <egreen@dslawpc.com>, Jasmine Capetillo
  <jcapetillo@dslawpc.com>
  Subject: Re: Paul v. Findeisen

  We can use this dial-in:

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  Toll-Free Dial-in Number:     +1 (800) 309-2350

  Conference ID:                188-4310
  Toll5:24-cv-00717-OLG-HJB
Case    Dial-in Number:         +1 (202)26-1
                               Document  524-7986
                                              Filed 01/17/25   Page 26 of 37

  Toll-Free Dial-in Number:     +1 (800) 309-2350

  Conference ID:                188-4310


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   Managing Partner
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 From: Dela Valdez <dvaldez@dslawpc.com>
 Date: Wednesday, December 4, 2024 at 3:27 PM
 To: Andrew Phillips <andy.phillips@mwpp.com>, Jason
 Davis <jdavis@dslawpc.com>, Shannon Timmann
 <shannon.timmann@mwpp.com>,
 jneiman@mnrlawfirm.com <jneiman@mnrlawfirm.com>,
 jmays@mnrlawfirm.com <jmays@mnrlawfirm.com>
Case 5:24-cv-00717-OLG-HJB             Document 26-1         Filed 01/17/25       Page 27 of 37




 Cc: Caroline Small <csmall@dslawpc.com>, Rachel Garza
 <Rgarza@dslawpc.com>, Danielle Grote
 <dgrote@dslawpc.com>, Erin Green
 <egreen@dslawpc.com>, Jasmine Capetillo
 <jcapetillo@dslawpc.com>
 Subject: RE: Paul v. Findeisen

 Good afternoon Mr. Phillips,

 Mr. Davis has requested a dial-in number be circulated for
 the 5 pm (EST) call.

 Many thanks,

 Dela


                                         Dela Valdez
                                        Legal Assistant to Jason Davis
                                        P: (210)
                                        853-5882
    719 S. Flores Street                D: (210)
    San Antonio, Texas                  853-5852                 E:
    78204                               F: (210)                 dvaldez@dslawpc.com
    dslawpc.com                         200-8395
                                        C: (210)
                                        309-3109




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 From: Andrew Phillips <andy.phillips@mwpp.com>
 Sent: Wednesday, December 4, 2024 12:47 PM
 To: Jason Davis <jdavis@dslawpc.com>; Dela Valdez
 <dvaldez@dslawpc.com>; Shannon Timmann
 <shannon.timmann@mwpp.com>; jneiman@mnrlawfirm.com;
 jmays@mnrlawfirm.com
 Cc: Caroline Small <csmall@dslawpc.com>; Rachel Garza
 <Rgarza@dslawpc.com>; Danielle Grote
 <dgrote@dslawpc.com>; Erin Green <egreen@dslawpc.com>;
 Jasmine Capetillo <jcapetillo@dslawpc.com>
 Subject: Re: Paul v. Findeisen

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 attachments unless you know the content is safe.]

 Hi Jason,

 Should we plan to call you directly at 5 pm ET, or would you like
 me to circulate a dial-in if you have others joining?

   Andrew C. Phillips
   Managing Partner
   Meier Watkins Phillips
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   Direct: 847.951.7093
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  From: Andrew Phillips <andy.phillips@mwpp.com>
  Date: Tuesday, December 3, 2024 at 7:59 AM
  To: Jason Davis <jdavis@dslawpc.com>, Dela Valdez
  <dvaldez@dslawpc.com>, Shannon Timmann
  <shannon.timmann@mwpp.com>,
  jneiman@mnrlawfirm.com <jneiman@mnrlawfirm.com>,
  jmays@mnrlawfirm.com <jmays@mnrlawfirm.com>
  Cc: Caroline Small <csmall@dslawpc.com>, Rachel Garza
  <Rgarza@dslawpc.com>, Danielle Grote
  <dgrote@dslawpc.com>, Erin Green
  <egreen@dslawpc.com>, Jasmine Capetillo
  <jcapetillo@dslawpc.com>
  Subject: Re: Paul v. Findeisen

  Hi Jason,

  5 pm tomorrow works. We’ll also want to discuss Defendants’
  document production (including the issues raised in my Oct. 9
  letter to Mr. Ogden), as well as the status of Defendants’ privilege
  log.
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 From: Jason Davis <jdavis@dslawpc.com>
 Date: Monday, December 2, 2024 at 3:25 PM
 To: Andrew Phillips <andy.phillips@mwpp.com>, Dela
 Valdez <dvaldez@dslawpc.com>, Shannon Timmann
 <shannon.timmann@mwpp.com>,
 jneiman@mnrlawfirm.com <jneiman@mnrlawfirm.com>,
 jmays@mnrlawfirm.com <jmays@mnrlawfirm.com>
 Cc: Caroline Small <csmall@dslawpc.com>, Rachel Garza
 <Rgarza@dslawpc.com>, Danielle Grote
 <dgrote@dslawpc.com>, Erin Green
Case 5:24-cv-00717-OLG-HJB             Document 26-1          Filed 01/17/25       Page 31 of 37




 <egreen@dslawpc.com>, Jasmine Capetillo
 <jcapetillo@dslawpc.com>
 Subject: RE: Paul v. Findeisen

 Andy,

 Thanks for the response - how does this Wednesday at 5 pm
 (EST) or Thursday at 9 am (EST) work for the call re discovery
 objections?

 I’ll be on the lookout for your available January dates for
 depositions.

 Best regards,

 Jason

                                         Jason Davis
                                         Partner
                                         P: (210)
                                         853-5882
    719 S. Flores Street                 D: (210)
    San Antonio, Texas                   853-5832                     E:
    78204                                F: (210)                     jdavis@dslawpc.com
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                                         884-5842




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 From: Andrew Phillips <andy.phillips@mwpp.com>
 Sent: Tuesday, November 26, 2024 12:39 PM
 To: Dela Valdez <dvaldez@dslawpc.com>; Shannon Timmann
 <shannon.timmann@mwpp.com>; jneiman@mnrlawfirm.com;
 jmays@mnrlawfirm.com
Case 5:24-cv-00717-OLG-HJB     Document 26-1   Filed 01/17/25   Page 32 of 37




 Cc: Jason Davis <jdavis@dslawpc.com>; Caroline Small
 <csmall@dslawpc.com>; Rachel Garza <Rgarza@dslawpc.com>;
 Danielle Grote <dgrote@dslawpc.com>; Erin Green
 <egreen@dslawpc.com>; Jasmine Capetillo
 <jcapetillo@dslawpc.com>
 Subject: Re: Paul v. Findeisen

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 attachments unless you know the content is safe.]

 Hi Jason,

 In regard to your correspondence from yesterday evening:

   • I can confirm that Mr. Paul is not responsible, either directly
 or indirectly, for Mr. Findeisen allegedly receiving an Amazon
 shipment labelled as PRIME drink powder. Mr. Paul does not
 know anything about it.
   • We are happy to have a call with you after the holiday to
 discuss Mr. Paul’s responses and objections to Defendants’
 document requests. Jeff is not available on Monday or Tuesday
 of that week, so are there times that would work for you on
 Wednesday or Thursday?
   • We will get back to you ASAP on the proposed dates for
 depositions. December 12-13 do not work for us, but we are
 working to confirm availability for the January dates.

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   Washington, DC 20006
   Direct: 847.951.7093
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  From: Dela Valdez <dvaldez@dslawpc.com>
  Date: Monday, November 25, 2024 at 6:52 PM
  To: Andrew Phillips <andy.phillips@mwpp.com>, Shannon
  Timmann <shannon.timmann@mwpp.com>,
  jneiman@mnrlawfirm.com <jneiman@mnrlawfirm.com>,
  jmays@mnrlawfirm.com <jmays@mnrlawfirm.com>
  Cc: Jason Davis <jdavis@dslawpc.com>, Caroline Small
  <csmall@dslawpc.com>, Rachel Garza
  <Rgarza@dslawpc.com>, Danielle Grote
  <dgrote@dslawpc.com>, Erin Green
  <egreen@dslawpc.com>, Jasmine Capetillo
  <jcapetillo@dslawpc.com>
  Subject: Paul v. Findeisen

  Dear Counsel,

  Please see the attached correspondence of November 25,
  2024, on behalf of Mr. Jason Davis regarding the above
  referenced matter.
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 Thank you for your attention and please contact our office if
 you have any questions.

 Best regards,

 Dela Valdez


                                         Dela Valdez
                                        Legal Assistant to Jason Davis
                                        P: (210)
                                        853-5882
    719 S. Flores Street                D: (210)
    San Antonio, Texas                  853-5852                 E:
    78204                               F: (210)                 dvaldez@dslawpc.com
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                                        C: (210)
                                        309-3109




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                         EXHIBIT 3
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